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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                     )
                                        )
PRESIDENT, INC., et al.,                ) 2:20-cv-966-NR
                                        )
             Plaintiffs,                )
                                        )
      v.                                )
                                        )
                                        )
KATHY BOOCKVAR, et al.,                 )
                                        )
                                        )
             Defendants.                )

   ORDER GRANTING MOTIONS TO COMPEL [ECF 366, ECF 368]
      After considering the parties’ submissions on the motions to compel, the
Court hereby ORDERS as follows:
      1)    As to the motion to compel filed by the Democratic Party
Intervenors [ECF 366], Plaintiffs shall respond fully to the Democratic
Intervenors’ Interrogatory Nos. 1-9 and Document Requests Nos. 1-4 and 9
with specific information or documents requested and/or specifically identify
by Bates number which document(s) produced are responsive to each
Document Request and Interrogatory. If there are no responsive documents,
Plaintiffs must state as much.
      2)    As to the motion to compel filed by the Sierra Club Intervenors
[ECF 368], the Court finds that instances of voter fraud are relevant to the
claims and defenses in this case, particularly since Plaintiffs are reserving
their right to introduce such evidence or retain an expert regarding the same.
Plaintiffs shall produce such evidence in their possession, and if they have
none, state as much. More specifically, Plaintiffs must respond fully to the
Sierra Club Intervenors’ Document Request Nos. 1 and 15, “as narrowed to
include documents, data, analysis and communications relating to allegations
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in the Amended Complaint concerning potential or actual fraud or voter
misconduct,” including as relates to: a) “non-uniform procedures concerning
drop boxes in Pennsylvania”; b) “fraudulent voting resulting from the use of
drop boxes, absentee ballots, or vote-by-mail in Pennsylvania”; c) “fraud
resulting from the use of third-party groups to collect absentee or mail ballots
in Pennsylvania”; d) “the existence and/or prevalence of fraud, ballot
harvesting, ballot manipulation or destruction, or duplicitous voting in
Pennsylvania”; and e) “the prevalence and/or counting of absentee or mail
ballots in Pennsylvania that lack a secrecy envelope, whose envelope contains
any text, mark, or symbol which reveals the elector's identify, political
affiliation, or candidate preference, or whose envelope does not include on the
outside envelope a completed declaration signed by the elector.”
      3)    Plaintiffs shall provide supplemental responses and documents
consistent with the foregoing no later than August 14, 2020.
      4)    Pursuant to Rule 37(a)(5)(A)(ii), the Court finds that Plaintiffs’
positions were substantially justified, and so will not award reasonable
expenses or attorneys’ fees.




DATED this 13th day of August, 2020.




                                    BY THE COURT:

                                    /s/ J. Nicholas Ranjan
                                    United States District Judge



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